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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District of Columbia


   Mikhail Fridman, Peter Aven, and German Khan                )
                             Plaintiff                         )
                                v.                             )      Case No.     1:17-cv-2041-RJL
   Bean LLC a/k/a Fusion GPS and Glenn Simpson                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants Bean LLC (a/k/a Fusion GPS) and Glenn Simpson                                                     .


Date:          07/27/2021                                                                  /s/ Scott Brooks
                                                                                          Attorney’s signature


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